                Case 24-10595-amc                     Doc 30         Filed 04/11/24 Entered 04/11/24 15:31:26       Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                 IN RE: Kelvin Alvin Lashley                                                CHAPTER 13
                                                              Debtor(s)
                                                                                            BKY. NO. 24-10595 MDC


                                        ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                           Kindly enter my appearance on behalf of DLJ Mortgage Capital, Inc., and index same
                    on the master mailing list.


                                                                                        Respectfully submitted,


                                                                                /s/${s:1:y:_________________________}
                                                                                 Michael Farrington
                                                                                 29 Mar 2024, 14:35:59, EDT



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